PROB. 12

‘“°“3'°“’ case 2:acf-201zo-Smlaasrni§slrlaaa€aMT Pa@e 1 Of 3 Pa@e'D 37

for

  
   
 
 

WESTERN DISTRICT OF TENNESSEE

U.S.A. vs. LAOUITA BOYLAND-JONES

COMES NOW NICOLE D. PETERSON , PROBATI()N OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Laouita Bovland-Jones who was placed on supervision by
the Honorable Samuel H. Mays, Jr. sitting in the Court at Mernphis, TN , on the _§_l_st_day of Augt_ist , 2004, who
fixed the period of supervision at three 131 years* , and imposed the general terms and conditions theretofore
adopted by the Court and also imposed special conditions and terms as follows:

 

(l) The defendant shall serve six (6) months halfway house confinement where defendant can receive drug
abuse treatment

(2) The defendant shall participate as directed in a program approved by the Probation Offlcer for treatment of
narcotic addiction...

(3) The defendant shall participate as directed in a program of mental health treatment approved by the Probation Officer.
(4) The defendant shall be prohibited from incurring new credit charges...
(5) The defendant shall provide the Probation Officer access to any requested financial information

(6) The defendant shall pay restitution in regular monthly installments of not less than 10% of the defendant’s
gross monthly income.

* Terrn of Supervised Release began on September 30, 2004.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Ms. Boyland-J ones failed to satisfy the special condition regarding six (6) months halfway house confinement in
that on January 12, 2005, she was discharged from Diersen Charities for non-compliance

PRAYING THAT THE COURT WILL ORDER the conditions of supervision be modified requiring Ms.
Boyland-J ones to complete a five (5) month period of horne confinement (electronic monitoring).

ORDER OF COURT RESPECTFULLY,
Considered and ordere is m Vt` day ' § L,, s
of ' 3 , 20 ° , and ordered NICOLE D. PETERSON
filed and ade a part of t e records in the United States Probation Offlcer
above case. d-|C_` .

' P]ace: Memt)his. Tennessee

United States District Judge Date: ADril 20. 2005

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(3139)

United States District Court
WESTERN District TENNESSEE

 

Waiver of Hearing to Modify Conditions
of ProbationlSupervised Release or Extend Term of Supervision

| have been advised and understand that l am entitled by law to a hearing and assistance of counsel
before any unfavorable change may be made in my Conditions of Probation and Supervised Release or
my period of supervision being extended By "assistance of counsel," l understand that l have the right to
be represented at the hearing by counsel of my own choosing if l am able to retain counsel. l also
understand that l have the right to request the court to appoint counsel to represent me at such a hearing
at no cost to myself if l arn not able to retain counsel of my own choosing.

l hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. l also agree to
the following modification of my Conditions of Probatlon and Supervisecl Release or to the proposed
extension of my term of supervision:

The defendant shall complete a five (5) month period of Home Confinement (E|ectronic
Monitoring).

  

  

Witness: 7}1 Mel: z Slgned:

  

N|COLE D.PETERSON Ul BOYLAl\| ONE
U. S. Probation Ofl”l _ Probationer/Supervis Releasee

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-20120 vvas distributed by faX, mail, or direct printing on
May l8, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

